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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        Case No.: 23-CV-81393-ROSENBERG/REINHART

  JEFF ISAACS

         Plaintiff,
  v.

  KELLER WILLIAMS REALTY, INC.,
  MAKAI SOUTHEAST, LLC (d/b/a KELLER
  WILLIAMS REALTY WELLINGTON), and
  EQUESTRIAN PALMS, LLC,

        Defendants.
  _________________________________________/

   DEFENDANTS, MAKAI SOUTHEAST, LLC’S AND KELLER WILLIAMS REALTY,
            INC.’S JOINT MOTION TO ENFORCE SETTLEMENT

         Defendants, MAKAI SOUTHEAST, LLC (d/b/a KELLER WILLIAMS REALTY

  WELLINGTON) and KELLER WILLIAMS REALTY, INC.’s by and through the undersigned

  counsel and pursuant to the Federal Rules of Civil Procedure, hereby files this Motion to Enforce

  Settlement and, in support thereof, states as follows:

                                              BACKGROUND

         1.      Plaintiff has alleged a number of claims including, but not limited to, TCPA,

  Sherman Act, and Breach of contract claims which stem from the sale of a residence.

         2.      On or about March 26, 2024, Plaintiff emailed the Defendants and inquired if the

  Defendants would agree to enter into a global settlement and “walk away” from the claims of this

  matter. Specifically, Plaintiff asked:

         Please advise (yes or no) whether KW/Makai would enter into a “Global
         Settlement” to terminate all claims and “walk away”. See Email Chain attached
         hereto as Exhibit “A”.
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         3.      In response to Plaintiff’s email, on Marhc 26, 2024, counsel for Makai responded:

         To be clear on this email below, as you know, generally a walk away is no
         monies paid and the suit is dismissed with prejudice. Conversely, the
         defendants don’t seek to tax costs or seek attorneys’ fees. Before I go to my
         client regarding the same, I need to understand is this what you are referring
         to. See Email Chain attached hereto as Exhibit “A”.


         4.      In reply, on March 26, 2024, counsel for the Plaintiff stated:

         That is also my understanding of a mutual walk away. See Email Chain attached
         hereto as Exhibit “A”.


         5.      On or about March 27, 2024, Keller Williams Realty, Inc. agreed to the offered

  walk away settlement agreement:

         KWRI agrees. Thank you. See Email Chain attached hereto as Exhibit “A”.


         6.      On or about April 8, 2024, Makai agreed to the offered walk away settlement offer:

         We will agree to a walk away as well. Sorry for the delay. See Email Chain
         attached hereto as Exhibit “A”.

         7.      On April 8 & 9, 2024, counsel for KWRI reached out to Plaintiff’s counsel to

  determine if Plaintiff would be circulating a draft of a settlement agreement.1 See Email Chain

  attached hereto as Exhibit “B”.

         8.      On or about April 9, 2024, Plaintiff’s counsel confirmed that this matter was settled

  and that Plaintiff would prepare a draft of a settlement agreement for everyone to review:

         Yes we are preparing a draft and will have something to you by the end of the
         day week at the latest. See Email Chain attached hereto as Exhibit “B”.




  1
   The last remaining party in the case, Equestrian Palms, LLC, previously settled the matter with
  Plaintiff.
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         9.      However, Plaintiff has not followed through on drafting a settlement agreement and

  has since attempted to characterize the settlement agreement reached as a tentative one, including

  most recently in the Motion to Stay filed by Plaintiff [D.E. 119].

         10.     Further, despite numerous attempts to contact Plaintiff’s counsel regarding the

  settlement, Plaintiff’s counsel has not returned calls or otherwise communicated with Defendants.

         11.     It is relatively clear that despite all parties agreeing to walk away from the litigation,

  that Plaintiff has buyer’s remorse and is attempting to manufacture issues which negate the

  settlement.

         12.     However, a walk-away settlement contains the material terms, to wit: the parties

  dismiss all respective claims with prejudice, and the litigation is at an end.2

                                         MEMORANDUM OF LAW

         A federal district court has the inherent power to enforce a settlement agreement entered

  into by the party litigants in a pending case. BP Products North America, Inc. v. Oakridge at

  Winegard, Inc., 469 F.2d 1128, 1132 (M.D. Fla. 2007). This power extends to situations where at

  least one party refuses to abide by the agreement prior to dismissal of the action. Kent v. Baker,

  815 F.2d 1395, 1400 (11th Cir. 1987).

         It is axiomatic that settlements are “highly favored in the law” because “they are a means

  of amicably resolving doubts and uncertainties and preventing lawsuits.” In re Nissan Motor Corp.

  Antitrust Litig., 552 F.2d 1088, 1105 (5th Cir. 1977). In Florida, settlement agreements are favored

  as an efficient way to settle disputes and a way to conserve judicial resources. BP Products North

  America at 1133.




  2
   In this case, the walk away included any claims in state court and Makai also agreed to dismiss
  their claim(s) with prejudice in state court related to the real estate case.
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         A court can enforce the terms of the settlement agreement when the agreement contains all

  the requisites for a valid contract. See Williams v. Metzler, 132 F.3d 937, 946 (3d Cir. 1997); see

  also McDonnell v. Ford Motor, 643 A.2d 1102, 1105 (Pa. Super. 1994) (“Our Court will enforce

  the settlement if all of the material terms of the bargain are agreed upon.”). Like many contracts,

  settlement agreements do not need to be reduced in writing to be binding and enforceable. See

  McClure, No. CIV.A. 05-5846, 2006 WL 2794173, at *1 (citing Beazer E., Inc. v. Mead Corp.,

  412 F.3d 429, 436-37 (3d Cir. 2005)). Moreover, in the circumstances where the parties “expressly

  contemplated that a formal, written recitation of their agreement” would subsequently outline the

  agreed-upon terms articulated in a settlement conference, the parties may still “walk away from

  the conference with an enforceable agreement,” where they have indicated a clear intent to be

  bound by those terms. Camargo v. Alick Smith Gen. Contractor, Inc., No. 5:15-CV-06215, 2016

  WL 6568120, at *2 (E.D. Pa. Nov. 4, 2016).

         In Florida, settlement agreements are viewed as contracts and their construction and

  enforcement are governed by the principles of contract law. Schwartz v. Fla. Bd. of Regents, 807

  F.2d 901, 905 (11th Cir. 1987). A settlement agreement is enforceable if its terms are sufficiently

  specific and mutually agreed upon as to every essential element. Sands v. Wagner & Hunt, P.A.,

  2009 WL 2730469 (S.D. Fla. 2009). Uncertainty as to nonessential terms will not preclude

  enforcement. Spiegel v. H. Allen Holmes, Inc., 834 So.2d 295, 297 (Fla. 4th DCA 2002). The party

  seeking to enforce a settlement agreement bears the burden of showing that the opposing party

  assented to the terms. Sands.

         A party's “change of heart” between the time they agree to the settlement terms and when

  the terms are reduced to writing is not sufficient to revoke the agreement. Forba v. Thomas

  Jefferson Univ. Hosp., No. 15 1722, 2016 WL 3661760, at *3-4 (E.D. Pa. July 8, 2016), aff'd, 666
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  F. App'x 106 (3d Cir. 2016) (“We cannot allow parties to reach settlement agreements and then

  change their mind with buyer's remorse.”). The buyer’s remorse is not a sufficient reason to refuse

  to abide by the terms of a settlement agreement. Walker v. Progressive Select Ins., 2022 WL

  6785788 (S.D. Fla. 2009).

          Here, the proposed settlement agreement is simple and self-descriptive – each party

  dismisses their respective claims with prejudice and the litigation between the parties is at an end,

  a “walk away”. There were no issues of money, releases, or any other terms by the very nature of

  a walk-away settlement. The Plaintiff offered the Defendants a walk away, the Defendants

  accepted the offer, and Plaintiff should be beholden to the settlement agreement reached between

  the parties.

          WHEREFORE, Defendants, MAKAI SOUTHEAST, LLC (d/b/a KELLER WILLIAMS

  REALTY WELLINGTON) and KELLER WILLIAMS REALTY, INC. respectfully request that

  this Court grant the Motion to Enforce Settlement and grant any and all further relief that this Court

  deems is just and equitable.

                       CERTIFICATE OF GOOD FAITH CONFERENCE
          Pursuant to Local Rule 7.1(a)(3)(A), we hereby certify that attorneys for Defendants

  conferred with counsel for Plaintiff on June 13, 2023, and June 14, 2023 in a good-faith effort to

  resolve the issues raised in this Motion. Plaintiff’s counsel did not provide a response beyond

  stating was not available to discuss the same.
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  Dated: June 17, 2024


  LYDECKER LLP                                           HINSHAW & CULBERTSON LLP

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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true copy of the foregoing was served via E-Portal to everyone
  on the attached service list this 17th day of June, 2024.
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